         Case 1:16-cv-00840-EJD Document 36 Filed 08/06/18 Page 1 of 7
                                                                        REDACTED VERSION

               IN THE UNITED STATES COURT OF FEDERAL CLAIMS



 BITMANAGEMENT SOFTWARE GMBH,

                       Plaintiff,                   Case No. 16-840 C
                v.
                                                    Senior Judge Edward J. Damich
 THE UNITED STATES OF AMERICA,

                       Defendant.




 PLAINTIFF’S SUR-REPLY IN RESPONSE TO DEFENDANT’S REPLY IN SUPPORT
   OF ITS OBJECTION TO EVIDENCE OFFERED IN SUPPORT OF PLAINTIFF’S
        MOTION FOR PARTIAL SUMMARY JUDGMENT ON LIABILITY

       The Government’s objection is an attempt to avert summary judgment by manufacturing

a dispute of material fact where none exists. Pursuant to the Court’s Order of July 24, 2018

(Dkt. 33), Plaintiff Bitmanagement Software GmbH (“Bitmanagement”) hereby submits the

following sur-reply in response to the Defendant’s (“Government”) reply in support of its

evidentiary objections, dated May 11, 2018 (Dkt. 31).

I.     The June 14, 2012 Software License Agreement Between Planet 9 Studios, Inc. and
       Bitmanagement Should Be Admitted as a Valid and Binding Agreement and as a
       Properly Authenticated Business Record

       The Government objects to consideration of the June 14, 2012 Software License

Agreement (“2012 Reseller Agreement”), A.251-57, a written agreement between Planet 9

Studios, Inc. (“Planet 9”) and Bitmanagement, because it is unsigned, but that concern is

meritless. Planet 9 and Bitmanagement intended to be bound by the agreement and fully

performed their obligations under the written agreement. The Government points to no evidence

to the contrary. Moreover, because the 2012 Reseller Agreement is a business record that


                                                1
           Case 1:16-cv-00840-EJD Document 36 Filed 08/06/18 Page 2 of 7
                                                                          REDACTED VERSION

documents the parties’ agreement regarding the sale of 18 licenses of BS Contact Geo for resale

to the Navy in 2012, it is not excludable under the hearsay rule. 1

       A.      The 2012 Reseller Agreement Is the Complete and Binding Agreement
               Between the Parties

       In its reply, the Government argues that the 2012 Reseller Agreement may not be the

complete and final agreement between Bitmanagement and Planet 9 because it is unsigned and

there is no “evidence that the parties agreed to its terms.” Dkt. 31 at 1. That the agreement is

unsigned does not make it inadmissible. See Yong Kui Chen v. Wai Yin Chan, 615 F. App’x 10,

13 (2d Cir. 2015); Tyco Thermal Controls, LLC v. Redwood Industrials, LLC, No. C 06-7164

SBA, 2012 WL 2792435, at *3 (N.D. Cal. July 9, 2012). As the Government acknowledges,

Dkt. 31 at 3, the Court can enforce (and grant summary judgment based in part on) an unsigned

agreement if the evidence shows the parties intended it to be binding. See Brown v. Dep’t of

Army, 157 Fed. App’x 295, 298 (Fed. Cir. 2005). Courts routinely hold unsigned agreements—

including written drafts—fully enforceable when the parties “perform[ed] in accordance with the

basic terms of the draft contracts.” See, e.g., Evolution Online Sys., Inc. v. Koninklijke

Nederland N.V., 41 F. Supp. 2d 447, 450 (S.D.N.Y. 1999). Here, both the unrebutted evidence

and the parties’ conduct shows they intended to be bound by the 2012 Reseller Agreement.

       First, there is no dispute that the parties performed according to the terms of the 2012

Reseller Agreement. See Dkt. 29 at 4-5. Although Bitmanagement and Planet 9 did not sign the

2012 Reseller Agreement, Planet 9 performed consistent with its terms (which provide for the

sale of “BS Contact … for 18 PCs … to NAVFAC for [NAVFAC’s] usage according to this


       1
          The Government’s evidentiary objection to the 2012 Reseller Agreement would apply
with equal force to the numerous unsigned agreements on which the Government’s own expert
relied in his report.

                                                  2
           Case 1:16-cv-00840-EJD Document 36 Filed 08/06/18 Page 3 of 7
                                                                           REDACTED VERSION

agreement,” A.256) by reselling 18 BS Contact Geo licenses to the Navy in 2012. Dkt. 27, DAF

¶ 24; Dkt. 25, SUMF ¶ 22. Planet 9 subsequently paid Bitmanagement $4,222.98—the amount

of the “Total Fee” provided for in the 2012 Reseller Agreement, A.256—for those 18 licenses.

A.2016. 2 Bitmanagement likewise performed its obligations under the contract by making the

18 licenses available to Planet 9 for resale. Bitmanagement and Planet 9’s performance of all the

key terms of the 2012 Seller Agreement demonstrates “the parties’ understanding that a binding

contract was in force.” Evolution Online Sys., Inc., 41 F. Supp. at 450.

       Second, as Bitmanagement’s CEO Peter Schickel testifies, the 2012 Reseller Agreement

encompassed the terms agreed to with Planet 9 related to the license and resale of 18 BS Contact

Geo licenses. Declaration of Peter Schickel (“Schickel Decl.”) ¶ 7. The Government points to

no contradictory evidence in the record. Tellingly, the Government—which deposed Mr.

Schickel and could have probed then whether the agreement was final—does not even suggest

that the parties’ understanding of the terms of their agreement varied from the text of the 2012

Reseller Agreement. Instead, the Government speculates that the existence of an unsigned “later

draft” of the reseller agreement, A1-7, casts doubt on whether the 2012 Reseller Agreement was

final. See Dkt. 31 at 2. This is a red herring: the “later draft” is identical in every substantive




       2
          The 2012 Navy Contract between the Navy and Planet 9 included line items for both the
18 licenses and related technical support, totaling $15,240. A.227-28. The Navy paid Planet 9
for the 2012 Navy Contract on October 1, 2012, in an amount totaling approximately $15,281.
See A9 (noting that $10,696.96 is “70% of what the Navy sent to us”); A11. Planet 9 then paid
Bitmanagement €8,176.25—equating to $10,696,96—on October 16, 2012, as shown on
Bitmanagement’s bank statement. A.2018; A9. Planet 9’s payment to Bitmanagement included
the $4,222.98 referenced in the 2012 Reseller Agreement, A.256, as well as additional payment
for approximately 70% of the value of the technical support services provided under the 2012
Contract. The percentage of the Navy’s payment retained by Planet 9 reflected Planet 9’s fee as
a reseller.

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             Case 1:16-cv-00840-EJD Document 36 Filed 08/06/18 Page 4 of 7
                                                                          REDACTED VERSION

respect to the 2012 Reseller Agreement. 3 Both provide the same price, delivery, and license

terms, including a notation that the product contracted for was a “PC license” of BS Contact, and

that “BS Contact [would] be enabled by the Licensor for 18 PCs.” Compare A1-7 with A.256-

57. Either version of the 2012 Reseller Agreement encapsulates the key terms by which the

parties intended to be bound and either version accurately memorializes the agreement between

the parties. 4

        Finally, the Government also speculates that the parties may not have “ever reach[ed] a

final written agreement for this transaction.” Dkt. 31 at 2. Of course, if that were true, the

Government’s liability defense would collapse, because it would mean that the Government

illegally obtained its 18 BS Contact Geo licenses from a company with no contract to resell those

licenses. See Dkt. 29 at 6.

        B.       The 2012 Reseller Agreement Is Properly Authenticated and Admissible
                 Under Federal Rules of Evidence 803 and 902

        Even if the 2012 Reseller Agreement were not admissible as the complete and binding

agreement between Bitmanagement and Planet 9 regarding resale of licenses to the Navy (which

it is), the agreement is also admissible as a business record. F. R. Evid. 803(6) permits the

admission of a record that is “[1] made at or near the time by, or from information transmitted




        3
          The two documents are completely identical except for a few non-substantive
differences: the earlier dated version states that Planet 9 “is permitted to provide the software” to
the Navy, while the later dated version states that Planet 9 “is permitted to resell the software.”
A.256, A6 (emphasis added). The later dated version also adds to the cover page the phrase
“Planet9 Studios acting as reseller” and notes that Planet 9 is “hereinafter referred to as
‘Licensee’ or ‘Reseller.’” Compare A.251 with A1.
        4
          To the extent the later-dated version of the document is relevant to the Court’s
consideration of Bitmanagement’s claims, Bitmanagement is prepared to offer it as a business
record and a valid and binding agreement just as it has with respect to the June 14, 2012
document.

                                                  4
           Case 1:16-cv-00840-EJD Document 36 Filed 08/06/18 Page 5 of 7
                                                                            REDACTED VERSION

by, a person with knowledge, [2] if kept in the course of a regularly conducted business activity,

and [3] if it was the regular practice of that business activity to make the [record], [4] all as

shown by the testimony of the custodian or other qualified witness, [5] unless the source of

information or the method or circumstances of preparation indicate a lack of trustworthiness.”

Conoco Inc. v. Dep’t of Energy, 99 F.3d 387, 391 (Fed. Cir. 1996) (citing id.). Documents that

constitute business records are self-authenticating and require no extrinsic evidence of

authenticity to be admitted. See F. R. Evid. 902(11). “Because of the general trustworthiness of

regularly kept records and the need for such evidence in many cases, the business records

exception has been construed generously in favor of admissibility.” Conoco, 99 F.3d at 391.

       The 2012 Reseller Agreement is an admissible business record. The agreement was

prepared in the course of a regularly conducted business activity, namely Bitmanagement’s

licensing and sale of its software, which it often accomplished via third-party resellers. 5

Schickel Decl. ¶¶ 3-4. As Mr. Schickel testifies, the agreement memorialized the terms of

Bitmanagement’s agreement to sell 18 BS Contact licenses to Planet 9 for resale to the Navy,

and Bitmanagement subsequently emailed the document as an attachment to Planet 9. Schickel

Decl. ¶¶ 5-7; A.2011. From the time it was drafted, Bitmanagement saved and stored the

agreement on a firm server consistent with its regular record management procedures. Schickel

Decl. ¶ 4. Finally, there is no “lack of trustworthiness” that the agreement encapsulates the key

terms of Bitmanagement and Planet 9’s agreement regarding the sale of 18 licenses to the Navy

in 2012. See supra at 2-4. Both parties fully performed under the agreement and, despite every

opportunity to explore the issue during discovery, the Government has proffered no evidence


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          Indeed, the Government concedes that Bitmanagement “worked closely” with Planet 9
“to sell and market its products in the United States.” Dkt. 27 at 8, 31.

                                                   5
          Case 1:16-cv-00840-EJD Document 36 Filed 08/06/18 Page 6 of 7
                                                                            REDACTED VERSION

suggesting the terms of the unsigned agreement were not followed or that some other contract

terms governed their relationship.

       The Court should overrule the Government’s objection to evidence regarding the 2012

Reseller Agreement and deny the Government’s motion to strike the 2012 Reseller Agreement.

II.    Deposition Testimony Regarding the Government’s Investigation of Its Installation
       of BS Contact Geo On Non-Navy Computers Need Not Be Admitted for Summary
       Judgment

       The Court need not consider this deposition testimony for purposes of the Government’s

copyright infringement liability. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986) (“Only

disputes over facts that might affect the outcome of the suit under the governing law will properly

preclude the entry of summary judgment. Factual disputes that are irrelevant or unnecessary will not

be counted.”); see Mot. for Summary Judgment at 22 (establishing Government’s unlawful copying

of BS Contact Geo through installation onto Navy computers). Bitmanagement reserves the right

to introduce this testimony at trial or another later point should it become relevant.

III.   Deposition Testimony Regarding the Government’s Removal of BS Contact Geo
       Software Need Not Be Admitted for Summary Judgment

       Although the Court need not consider this deposition testimony for purposes of the

Government’s copyright infringement liability, Bitmanagement reserves the right to introduce

this testimony at trial or another later point should it become relevant.




                                                  6
        Case 1:16-cv-00840-EJD Document 36 Filed 08/06/18 Page 7 of 7
                                                            REDACTED VERSION

Dated: August 1, 2018        Respectfully Submitted,

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                                       7
